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                                           September 12, 2022


 BY ECF
 Kathleen Miller, Esq.
 Port Authority of New York and New Jersey
 4 World Trade Center
 New York, New York 10007

       Re: Suriel v. Port Authority, et al., 19 CV 3867 (PKC) (ST)

 Dear Ms. Miller:

     I represent plaintiff Francisco Suriel in the above-referenced action. I write pursuant
 to the Court’s order of this morning and Rule 3.D of the Court’s Individual Practices
 to confirm that plaintiff electronically served defendants with the following documents
 on September 9, 2022:

       1. Plaintiff’s opposition memorandum;
       2. Declaration and supporting exhibits; and
       3. Loc. Civ. R. 56.1(b) counterstatement.

       Thank you for your attention to this matter.

                                           Respectfully submitted,


                                           Gabriel P. Harvis

 cc:      Hon. Pamela K. Chen
          United States District Judge
